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IN THE U.S. DISTRICT COURT OF MARYLAND
FOR DISTRICT OF MARYLAND

Kristofer Prusin ¥
Plaintiff
xe
Vv. Case No. JKB-16-0605
*
Canton’s Pearls, LLC, et al., *
Defendants e

 

PLAINTIFF PRUSIN’S THIRD SET OF
REQUEST FOR PRODUCTION OF DOCUMENTS
TO DEFENDANT CANTON’S PEARLS, LLC

TO: Canton’s Pearls, LLC, Defendant
From: Kristofer Prusin, Plaintiff

Pursuant to Fed. R. Civ. P. 34, and L.R. 104, the Plaintiff, Mr. Kristofer Prusin, by his
undersigned attorneys, requests that Defendant, Canton’s Pearls, LLC, respond to this Request
within the time prescribed by the Federal Rules of Civil Procedure, and produce the following
documents for inspection and copying on November 15, 2016, at 10:00 a.m., and continuing
from day to day thereafter, until completed, at the offices of Bradford W. Warbasse, Esq.,
Attorney at Law, 401 Washington Avenue, Suite 200, Towson, Maryland 21204, or at such time
and place as may be agreed upon by all counsel.

INSTRUCTIONS

L. If, in responding to this Request for Production, the responding party encounters any
ambiguities when construing a request or definition, the response shall set forth the matter
deemed ambiguous and the construction used in responding.

ws Whenever in this Request you are asked to identify or produce a document which is

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deemed by you to be properly withheld from production for inspection or copying:

o.

A. If you are withholding the document under claim of privilege (including, but not
limited to, the work product doctrine), please provide the information set forth in Fed. R.
Civ. P. 26(b)(5) and Discovery Guideline 9(c)(1i)(b), including the type of document, the
general subject matter of the document, the date of the document, and such other
information as is sufficient to identify the document, including, where appropriate, the
author, addressee, custodian, and any other recipient of the document, and where not
apparent, the relationship of the author, addressee, custodian, and any other recipient to
each other, in a manner that, without revealing the information claimed to be protected,
will enable this party to assess the applicability of the privilege or protection claimed by
you;

B. If you are withholding the document for any reason other than an objection that it
is beyond the scope of discovery or that a request is unduly burdensome, identify as to
each document and, in addition to the information requested in {2.A, above, please state
the reason for withholding the document.

When a document contains both privileged and non-privileged material, the non-

privileged material must be disclosed to the fullest extent possible without thereby disclosing the

privileged material. If a privilege is asserted with regard to part of the material contained in a

document, the party claiming the privilege must clearly indicate the portions as to which the

privilege is claimed. When a document has been redacted or altered in any fashion, identify as to

each document the reason for the redaction or alteration, the date of the redaction or alteration,

and the person performing the redaction or alteration. Any redaction must be clearly visible on

the redacted document.

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4. It is intended that this Request will not solicit any material protected either by the
attorney/client privilege or by the work product doctrine which was created by, or developed by,
counsel for the responding party after the date on which this litigation was commenced. If any
request is susceptible of a construction which calls for the production of such material, that
material need not be provided and no privilege log pursuant to Fed. R. Civ. P. 26(b)(5) or
Discovery Guideline 9(a) will be required as to such material.
5. If production of any requested document(s) is objected to on the grounds that production
is unduly burdensome, describe the burden or expense of the proposed discovery.
DEFINITIONS

Notwithstanding any definition set forth below, each word, term, or phrase used in this

Request is intended to have the broadest meaning permitted under the Federal Rules of Civil

Procedure. As used in this Request, the following terms are to be interpreted in accordance with

these definitions:

1. Communication: The term "communication" means the transmittal of information by any
means.
me Concerning: The term “concerning” means relating to, referring to, describing,

evidencing, or constituting.

a. Document: The terms "document" and "documents" are defined to be synonymous in
meaning and equal in scope to the usage of the term “documents” in Fed. R. Civ. P. 34(a) and
include(s) the term “writing”. Unless the producing party demonstrates undue burden or other
grounds sufficient to meet the requirements of Fed. R. Civ. P. 26(c), electronic mail is included
within the definition of the term “document”. The terms “writings”, “recordings”, and

“photographs” are defined to be synonymous in meaning and equal in scope to the usage of those

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terms in Fed. R. Evid. 1001. A draft or non-identical copy is a separate document within the
meaning of the term “document”.

4. Occurrence/Transaction: The terms "occurrence" and “transaction” mean the events
described in the Complaint and other pleadings, as the word “pleadings” is defined in Fed. R.
Civ. P. 7(a).

5, Parties: The terms “plaintiff” and “defendant” (including, without limitation, third-party
plaintiff, third-party defendant, counter claimant, cross-claimant, counter-defendant, and cross
defendant), as well as a party’s full or abbreviated name or a pronoun referring to a party, mean
that party and, where applicable, its officers, directors, and employees. This definition is not
intended to impose a discovery obligation on any person who is not a party to the litigation or to
limit the Court’s jurisdiction to enter any appropriate order.

6. Person: The term “person” is defined as any natural person or any business, legal or

governmental entity, or association.

te Plaintiffs: The term “Plaintiff” refers to Kristofer Prusin.

8. Defendant(s): The term “Defendant” refers to Canton’s Pearls, LLC. The term

“Defendants” refers to Canton’s Pearls, LLC and Eric K. Hamilton, collectively.

9. You/Your: The terms "you" or "your" include the person(s) to whom this Request is
addressed, and all of that person's agents, representatives and attorneys.

10. Identify (with respect to persons): When referring to a person, to “identify” means
information referencing a person’s full name, present or last known address, and/or telephone
number, and when referring to a natural person, additionally, the present or last known place of
employment.

11. The present tense includes the past and future tenses. The singular includes the plural,

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and the plural includes the singular. "All" means "any and all"; "any" means "any and all."
"Including" means "including but not limited to." "And" and "or" encompass both "and" and
"or." Words in the masculine, feminine or neuter form shall include each of the other genders.
12. If the requested documents are maintained in a file, the file folder is included in the

request for production of those documents.

REQUEST FOR PRODUCTION
OF DOCUMENTS

REQUEST NUMBER ONE: Please produce all Employee Time Card and Job Detail Reports

and Employee Sales and Tip Totals Reports for every employee for calendar years 2013, 2014

and 2015.

REQUEST NUMBER TWO. Please produce all documents which refer or relate to each sales
transaction completed by the Plaintiff, including but not limited to, the checks presented to or

signed by each customer, during calendar years 2013, 2014 or 2015.

Respectfully submitted,

 
     

  

(w/ permission) Lat (Oey IGAVIES U ARAM CP
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CERTIFICATE OF SERVICE

The undersigned hereby certifies that on October 13, 2016, a copy of the Plaintiff Prusin’s First

Set of Request for Production of Documents to Defendant Eric K. Hamilton was LLC was sent

by United States Mail, first class, postage prepaid, to:

Christopher T. Staiti, Esq.
Staiti & DiBlasio, LLP
401 Headquarters Drive
Suite 202
Millersville, Maryland 21108

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